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 1    RILEY SAFER HOLMES & CANCILA LLP
      Yakov P. Wiegmann (CSB # 245783)
 2    ywiegmann@rshc-law.com
      456 Montgomery Street, 16th Floor
 3    San Francisco, California 94104
      Telephone:    (415) 275-8550
 4    Facsimile:    (415) 275-8551
 5
      Attorneys for Plaintiff
 6    A.B.
 7

 8                                  UNITED STATES DISTRICT COURT
 9                      FOR THE DISTRICT FOR THE DISTRICT OF COLUMBIA
10

11

12    A.B.                                             Case No. 1:19-cv-00598-CJN
13                        Plaintiffs,                  FIRST AMENDED COMPLAINT FOR
                                                       DECLARATORY AND INJUNCTIVE
14           v.                                        RELIEF
15    U.S. DEPARTMENT OF JUSTICE, an                   Freedom of Information Act, 5 U.S.C. § 552
      agency of the Department of Homeland
16    Security,
17                        Defendant.
18

19

20                                         I.     INTRODUCTION

21                1. This is an action under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552,

22   to shed light on then-Attorney General Jeff Sessions and the Department of Justice’s decision to

23   direct the Board of Immigration Appeals (“BIA” or “Board”) to certify Plaintiff A.B.’s

24   (“Plaintiff”) asylum case to him and vacate the Board’s previous decision to grant asylum to

25   Plaintiff. Defendant Department of Justice has failed to substantively respond to Plaintiff’s FOIA

26   request within the legally mandated timeframe.

27                                              II.   PARTIES

28                2. Plaintiff A.B. is a Salvadoran woman who is in the process of appealing the
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 1   judgment on her asylum application. She is currently a resident of South Carolina.
 2              3. Defendant Department of Justice is an agency within the meaning of 5 U.S.C.
 3   §552 (f), and is in possession and/or control of the records requested by Plaintiff which are the
 4   subject of this action. Defendant has its headquarters in Washington, D.C., and field offices all
 5   over the country.
 6                                        III.     JURISDICTION
 7              4. This Court has federal subject matter jurisdiction over this action and personal

 8   jurisdiction over the parties pursuant to 5 U.S.C. § 552(a)(4)(B). Because this action arises under

 9   the FOIA against an agency of the United States, this Court also has jurisdiction pursuant to 28

10   U.S.C. §§ 1331 and 1346.

11                                               IV.     VENUE

12              5. Venue lies in this District pursuant to 28 U.S.C. § 1391 and 5 U.S.C. §
13   552(a)(4)(B). Defendant resides in this District.
14                                         V.      BACKGROUND
15              6. In 2014, the Board found for the first time in a precedent decision that women who
16   are victims of domestic violence in their home countries can be eligible for asylum in the United
17   States because they can show a “well-founded fear of persecution” based on “membership in a
18   particular social group.” Matter of A-R-C-G- et al, 26 I&N Dec. 388, 399 (BIA 2014). The lead
19   respondent in A-R-C-G fled from Guatemala, where she had “suffered repugnant abuse by her
20   husband” after marrying when she was seventeen. Id. After the couple’s first child was born, her

21   husband beat her weekly, breaking her nose. He threw burning paint thinner on her and raped

22   her. Id.

23              7. The BIA was persuaded that the lead respondent also showed that the Guatemalan

24   government would not protect her. Id. at 393. She went repeatedly to the police, but was told

25   they would not interfere in a domestic dispute. Id. at 389. Once, when her husband bloodied her

26   face, she called the police to their home, but they refused to arrest him. Id. Thus, the Board

27   found that women who are survivors of severe domestic violence in their home countries can be

28   eligible for asylum in the United States. See, generally, id.
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 1              8. Plaintiff, among others, fled to the United States seeking asylum on the basis that
 2   she is a survivor of severe domestic violence in her home country and the local government will
 3   do nothing to protect her.
 4                           VI.     FACTS AND PROCEDURAL HISTORY
 5              A. Plaintiff’s Asylum Application

 6             9.     Plaintiff, a Salvadoran woman, was brutalized by her husband in her home

 7   country for fifteen years. Her abuser subjected her to extreme physical, sexual, and emotional

 8   violence, from which the Salvadoran state was unable or unwilling to protect her, despite her

 9   efforts to secure protection. Fearing for her life and safety, Plaintiff fled to the United States.

10             10. Plaintiff still has family in El Salvador. Her husband has a significant history of

11   extreme violence against Plaintiff. In addition to Plaintiff’s husband potentially committing

12   further physical violence against her, her husband may also be inclined to commit further

13   violence against Plaintiff’s daughter still in El Salvador—whom he has already harmed—should

14   he become aware of Plaintiff’s asylum efforts rooted in his abuse.

15             11. Plaintiff applied for asylum within the required one-year period, but her

16   application was denied by Immigration Judge V. Stuart Couch. Matter of A-B-, Decision

17   Denying Asylum Application, (Immig. Ct. Dec. 1, 2015).

18             12. Plaintiff appealed to the Board, which overturned the denial pursuant to Matter of

19   A-R-C-G- et al, 26 I&N Dec. 388 (BIA 2014), supra, and sent the case back to Immigration Judge

20   Couch with instructions to complete security checks and grant asylum. Matter of A-B-, (BIA

21   Dec. 8, 2016).

22             13. Immigration Judge Couch held on to the case and refused to grant asylum as

23   directed even after Plaintiff’s security checks cleared. Instead, he attempted to “certify” the case

24   back to the Board in a decision that defied the holdings of the higher tribunal. This act was

25   procedurally improper and defective, as it failed to comprise a decision granting or denying

26   Plaintiff’s asylum application that could be certified to the Board—as later acknowledged by the

27   Attorney General. See Matter of A-B-, 27 I&N Dec. at 321-22, n.2 (noting “procedurally

28   defective” action by Immigration Judge Couch).
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 1              14. Then, on March 7, 2018, Attorney General Jefferson Sessions referred the Board’s
 2   decision to himself “for review of issues relating to whether being a victim of private criminal
 3   activity constitutes a cognizable ‘particular social group’ for purposes of an application for
 4   asylum and withholding of removal . . . .” Matter of A-B-, 27 I. & N. Dec. 227 (A.G. 2018).
 5              15. In the past, Attorneys General have used this “self-certification” authority pursuant
 6   to 8 C.F.R. § 1003.1(h)(1)(i) sparingly: under the Obama Administration, for example, this power
 7   was only used four times throughout both terms. By contrast, Sessions self-certified cases six
 8   times in less than two years, and has issued five decisions so far.1
 9              16. Moreover, the Attorney General certification in Plaintiff’s case was unusual, in

10   that her case was not properly before the Board as required. The governing regulation, 8 C.F.R.

11   §1003.1(h)(1)(i) provides a mechanism for the Board to “refer to the Attorney General for review

12   of its decision all cases that [t]he Attorney General directs the Board to refer to him.” In her

13   briefing before then-Attorney General Sessions, Plaintiff argued that because Immigration Judge

14   Couch’s “certification” to the Board was defective, the Board never reacquired jurisdiction in her

15   case and thus could not be directed to refer her case to Sessions. She further contended that

16   Sessions’ defective self-certification violated due process.

17              17. The Attorney General rejected Plaintiff’s arguments against his certification

18   authority, and ruled against Plaintiff on June 11, 2018. He vacated the Board’s favorable decision

19   in her case and remanded Plaintiff’s case to the immigration judge. Matter of A-B-, 27 I&N Dec.

20   316 (A.G. 2018). In compliance with 8 C.F.R. § 1208.6(b), the Attorney General used a

21   pseudonym (Plaintiff’s initials) in issuing a published precedent decision in Plaintiff’s case, so

22   that Plaintiff’s identity and safety would remain protected. Id.

23              18. The Attorney General’s decision also overruled the BIA precedent in A-R-C-G-,

24   which had recognized that people like Plaintiff – victims of domestic violence whom their

25   governments could not protect – could show persecution on account of a “particular social group”

26   and secure asylum or withholding of removal protection. See id. at 317 (overruling Matter of A-

27   1
       See How Jeff Sessions is Attacking Immigration Judges and Due Process Itself, David Hausman (Oct. 1, 2018),
     https://www.aclu.org/blog/immigrants-rights/deportation-and-due-process/how-jeff-sessions-attacking-immigration-
28   judges
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 1   R-C-G-, 26 I. & N. Dec. 388 (BIA 2014)).
 2             19. On October 10, 2018, Immigration Judge Couch issued a final order denying
 3   Plaintiff’s application for asylum, withholding of removal, and relief under the Convention
 4   against Torture, as well as denial of her motion for recusal. Plaintiff filed a Notice of Appeal to
 5   the BIA on November 8, 2018 and her case remains pending. The BIA has not yet set a briefing
 6   schedule for the appeal.
 7              B. Plaintiff’s FOIA Requests and the DOJ’s Response
 8             20. On March 26, 2018, Plaintiff made a FOIA request addressed to the DOJ’s Mail

 9   Referral Unit. This request sought all records2 that were prepared, received, transmitted,

10   collected and/or maintained by DOJ that contain, discuss, refer to, or are related to the Attorney

11   General’s decision to certify to himself Plaintiff’s asylum case. The request sought expedited

12   treatment pursuant to 5 U.S.C. § 552(a)(6)(E)(ii) and 28 CFR § 16.5(e)(1). (A true and correct

13   copy of Plaintiff’s FOIA request to the DOJ for individual records on expedited basis is attached

14   hereto as Exhibit A.)

15             21. On or around April 24, 2018, Plaintiff’s counsel received a “partial response” from

16   the DOJ’s Executive Office of Immigration Review (“EOIR”). The EOIR stated that it received

17   Plaintiff’s FOIA request from the Justice Management Division, and was enclosing records

18   responsive to the FOIA request. These records consisted or a single one-page e-mail, apparently

19   announcing the Attorney General’s self-certification decision to various DOJ personnel. (A true

20   and correct copy of the DOJ’s April 24, 2018 “partial response” is attached hereto as Exhibit B.)

21             22. Further, the “partial response” stated that “EOIR has forwarded 10 pages of the

22   records to the Office of Information Policy (OIP) as a referral and OIP will provide you with a

23   direct response regarding those records. EOIR has also forwarded 2 pages of the records to OIP

24
     2
       The term “records” was defined to include all records or communications preserved in electronic
25   or written form, including but not limited to correspondence, regulations, directives, documents,
     data, videotapes, audiotapes, emails, faxes, files, guidance, guidelines, standards, evaluations,
26   instructions, analyses, memoranda, agreements, notes, orders, policies, procedures, protocols,
     reports, rules, manuals, technical specifications, training materials or studies, including records
27   kept in written form, or electronic format on computers and/or other electronic storage devices,
     electronic communications and/or videotapes, as well any reproductions thereof that differ in any
28   way from any other reproduction, such as copies containing marginal notations.
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 1   for consultation, and EOIR will provide you with a response regarding those records when
 2   consultation is complete.” Despite these representations, Plaintiff has received no substantive
 3   documents (other than the aforementioned single-page redacted email, and two cover sheets titled
 4   “Consult with OIP”). Plaintiff has not received the twelve pages that, according to the “partial
 5   response,” EOIR had forwarded to OIP as a referral/for consultation.
 6                 23. On May 25, 2018 – two months after the initial request was made – the DOJ’s
 7   FOIA officer directed Plaintiff’s counsel to re-file her request directly with the EOIR, which they
 8   promptly did on May 30, 2018. The second request sought the following:
 9
               a. All records3 that were prepared, received, transmitted, collected and/or
10                 maintained by the Department of Justice that contain, discuss, refer to, or are
                   related to Plaintiff’s asylum case within, between, or made by the following
11                 individuals and/or entities:
                    i. Immigration Judge Stuart V. Couch;
12                 ii. The Executive Office for Immigration Review, including but not limited to
                       its clerks, officials, and Director;
13                iii. The Board of Immigration Appeals, including but not limited to its clerk’s
                       office;
14                iv. Attorney General Jefferson Sessions;
                   v. Internal, outside, or informal advisors of the Attorney General;
15                vi. Employees of the Department of Justice.
               b. These include but are not limited to any communications relating to the
16                 Attorney General’s awareness of and consideration of any aspect of Plaintiff’s
                   asylum case. See Matter of A-B-, 27 I&N Dec. 227 (A.G. 2018).
17             c. This request covers the time period of December 8, 2016 to the date of search,
                   up through and including the date of any searches that follow an initial search.
18

19   (A true and correct copy of Plaintiff’s second FOIA request to the DOJ for individual records is
20   attached hereto as Exhibit C.)

21                 24. Like the initial request, the second request sought expedited processing under 28

22   C.F.R. § 16.5(d)(1) (both FOIA requests referred hereinafter as “Request”). Without this

23   information, Plaintiff faced the loss of substantial due process rights in her case. Absent the

24   requested information on the Attorney General’s decision to certify the case to himself, Plaintiff

25   faced the risk of being unable to fully raise and articulate due process concerns around the

26   certification decision. Plaintiff pointed out that her asylum appeal was last sustained by the

27   Agency, but that she now faced the requirement of having to re-litigate her merits case, which

28   3
         The term “records” was defined substantially the same way as in the first request.
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 1   itself implicates substantial due process concerns.
 2              25. The DOJ on June 8, 2018 denied Plaintiff’s request for expedited processing. (A
 3   true and correct copy of the DOJ’s denial of Plaintiff’s FOIA request on expedited basis is
 4   attached hereto as Exhibit D.) The letter denying expedited processing stated that the Request
 5   “has been assigned to an analyst in this Office and our processing of it has been initiated,” but the
 6   DOJ failed to provide a response to the Request by the twenty-working-day deadline under 5
 7   U.S.C. § 552(a)(6)(A)(i). (See Exhibit D.)
 8              26. The DOJ further failed to issue a decision notifying Plaintiff that it was invoking
 9   an extension due to “unusual circumstances” under 5 U.S.C. § 552(a)(6)(B) and 28 C.F.R.
10   16.5(c).
11              27. Having heard nothing from the DOJ since the denial of expedited processing and
12   the passing of the Agency’s statutory deadline to respond to the Request, counsel for Plaintiff
13   contacted Brittnie Baker, the DOJ’s FOIA officer assigned to the Request, on July 11, 2018. Ms.
14   Baker stated that the Request was on a “complex track,” but could not provide an estimated time
15   for the initial results. She promised to calculate that time and inform Plaintiff’s counsel.
16              28. After Plaintiff’s counsel followed up with her, Ms. Baker responded via email on
17   July 30, 2018. She stated that “it is estimated that it will take at least 6 months for the search to
18   be completed. It will then take another few months to review and process any responsive records
19   that may be located, depending on the volume of records located in the search.” Ms. Baker did
20   not explain why the Request – which apparently did not merit “unusual circumstances” treatment

21   – would require such a lengthy search period, not to mention a potentially even longer review
22   period. (A true and correct copy of e-mail correspondence received from Ms. Baker is attached
23   hereto as Exhibit E.)
24              29. Having received no communication from the DOJ regarding the processing of her
25   Request after Ms. Baker’s July 30, 2018 email, Plaintiff filed an administrative appeal due to the
26   DOJ’s failure to timely respond to the Request on September 28, 2018. The appeal challenged
27   the DOJ’s unreasonable delay, uncertain response date, and improperly lengthy estimate of the
28   time required to respond to the Request. (A true and correct copy of the FOIA Request
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 1   Administrative Appeal is attached hereto as Exhibit F.)
 2             30. On October 24, 2018, the DOJ sent a letter in response to Plaintiff’s administrative
 3   appeal, claiming that because no “adverse determination” had been made, there was no action to
 4   consider on appeal. The DOJ did not set forth a reason for the delay or provide any sort of
 5   definitive response date. The response to Plaintiff’s administrative appeal acknowledged that “the
 6   FOIA authorizes requesters to file a lawsuit when an agency takes longer than the statutory time

 7   period to respond,” thereby conceding that Plaintiff had exhausted her administrative remedies.

 8   (A true and correct copy of the DOJ response to the FOIA Request Administrative Appeal is

 9   attached hereto as Exhibit G.)

10             31. The DOJ’s unjustified delay in processing Plaintiff’s FOIA request is unlawful and

11   particularly improper given that the DOJ’s proposed timeline to respond to the Request might not

12   allow Plaintiff access to the requested records until after her appeal before the BIA has been

13   adjudicated. This could prevent Plaintiff from fully articulating before the Board, and even

14   potentially the federal Courts of Appeals, the due process and related issues arising from the then-

15   Attorney-General’s self-certification decision. As previously explained, Plaintiff has preserved

16   her challenge to the authority and constitutionality of Sessions’ self-certification of her case. Yet,

17   despite issuing an adverse decision—which recognized procedural irregularities but nevertheless

18   proceeded to reverse the Board’s prior favorable decision—Sessions did not meaningfully explain

19   the processes by which he selected Plaintiff’s case for certification. Nor has the Agency provided

20   responsive documentation, to which Plaintiff is entitled, that would shed light on the same. The

21   Agency’s failure to comply with the FOIA poses a substantial risk of undermining Plaintiff’s due

22   process rights in her asylum proceedings.

23                                    VII.     CLAIM FOR RELIEF

24                 A. Violation of the Freedom of Information Act, 5 U.S.C. § 552
25             32. Plaintiff re-alleges and incorporates, as fully set forth herein, each and every

26   allegation contained in the above paragraphs.

27             33. The DOJ has failed to conduct an adequate search, has wrongfully withheld

28   agency records requested by Plaintiff under the FOIA, and has failed to comply with the statutory
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 1   time limit for the processing of FOIA requests.
 2             34. The DOJ failed to provide a response to Plaintiff’s second FOIA Request by the
 3   twenty-working-day deadline under 5 U.S.C. § 552(a)(6)(A)(i). Nor did the DOJ issue a decision
 4   notifying Plaintiff that it was invoking an extension due to “unusual circumstances” under 5
 5   U.S.C. § 552(a)(6)(B) and 28 C.F.R. 16.5(c). Even if the DOJ had invoked the ten-working-day
 6   extension under 5 U.S.C. § 552(a)(6)(B) and 28 C.F.R. 16.5(c), that period would have ended on
 7   July 12, 2018.
 8             35. Ms. Baker’s July 30, 2018 email does not constitute a proper determination under
 9   FOIA, because the DOJ did not “indicate within the relevant time period the scope of the
10   documents it will produce and the exemptions it will claim with respect to any withheld
11   documents.” See CREW v. FEC, 711 F.3d 180, 182-83 (D.C. Cir. 2013).
12             36. The courts have found that “an agency’s failure to comply with the FOIA’s time
13   limits is, by itself, a violation of the FOIA, and is an improper withholding of the requested
14   documents.” Gilmore v. U.S. Dept. of Energy, 33 F. Supp. 2d 1184, 1187 (N.D. Cal. 1998).
15             37. Plaintiff has exhausted the applicable administrative remedies with respect to
16   wrongful withholding of the requested records.
17             38. Plaintiff is entitled to injunctive relief with respect to the release and disclosure of
18   the requested documents because the DOJ continues to improperly withhold agency records in
19   violation of the FOIA. Plaintiff will suffer irreparable injury from, and have no adequate legal
20   remedy for, the DOJ’s illegal withholding of government documents pertaining to the subject of

21   the Request.
22             39. Plaintiff is entitled to declaratory relief because an actual controversy exists
23   regarding DOJ’s failure to meet its obligations under FOIA.
24                                  VIII.     PRAYER FOR RELIEF
25          WHEREFORE, Plaintiff prays for judgment against the DOJ as follows:

26              a. For declaratory relief declaring that the DOJ’s failure to disclose the records

27   requested by Plaintiff violates FOIA, 5 U.S.C. § 552;

28              b. For injunctive relief ordering the DOJ to expeditiously conduct an adequate search
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 1   for all records responsive to Plaintiff’s FOIA requests; and to expeditiously and appropriately
 2   disclose, as soon as practicable and within a reasonable time not exceeding twenty days, all
 3   responsive, non-exempt records;
 4                 c. For Plaintiff’s reasonable attorney fees and other litigation costs reasonably
 5   incurred in this action pursuant to 5 U.S.C. § 552(a)(4)(E); and
 6                 d. For such other relief as the Court may deem just and proper.
 7

 8    Dated: July 22, 2019                                 RILEY SAFER HOLMES & CANCILA LLP
 9

10                                                         By: /s/ Yakov P. Wiegmann
11                                                             Yakov P. Wiegmann
                                                               ywiegmann@rshc-law.com
12                                                             456 Montgomery Street, 16th Floor
                                                               San Francisco, CA 94104
13                                                             Telephone:(415) 275-8550
                                                               Facsimile: (415) 275-8551
14                                                             Attorneys for Plaintiff
                                                               A.B.
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